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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 JOEL VANGHELUWE and
 JEROME VANGHELUWE,
                                                    Case No. 2:18-cv-10542-LJM-EAS
        Plaintiffs,                                 Honorable Laurie J. Michelson
                                                    Magistrate Judge Elizabeth A. Stafford
 v.

 GOT NEWS, LLC, et al.,

        Defendants.


                      ORDER FOR PLAINTIFFS TO SHOW CAUSE
                       WHY CASE SHOULD NOT BE DISMISSED


       In September 2020, this case was nearing two-and-half-years old, and so the Court

requested a status update. Plaintiffs Joel Vangheluwe and Jerome Vangheluwe provided an update

on the status of the case. (ECF No. 133.) Upon reviewing the update, the Court stated,

       The Court sets the following schedule for the remainder of the case. This case is
       nearing three years old, and so the Vangheluwes should pursue their claim against
       Got News in the bankruptcy proceeding as soon as reasonably possible. Within 60
       days of resolving their claim against Got News, for each of the seven defendants in
       default, the Vangheluwes are to either dismiss their complaint against the defendant
       or seek default judgment against the defendant. Each motion for default judgment
       that is filed must demonstrate that personal jurisdiction exists over each claim
       against the defendant per the test set out in this Court’s prior opinion in this case.
       See generally Vangheluwe v. Got News, LLC, 365 F. Supp. 3d 852 (E.D. Mich.
       2019). The Vangheluwes shall also docket a proof of service for each motion for
       default judgment filed.

(ECF No. 134.)

       It is now May 2021, and so now this case is three years old. And the Court has received no

update since the last. The Vangheluwes are thus ORDERED to show cause why this case should

not be dismissed for failure to prosecute. The Court also notes that if the Vangheluwes still intend

to seek judgment against the defaulted defendants, the Sixth Circuit Court of Appeals has recently
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issued an opinion regarding personal jurisdiction that is relevant to this case. See Blessing v.

Chandrasekhar, 988 F.3d 889, 906 (6th Cir. 2021). The Vangheluwes’ show-cause response is

due on or before May 21, 2021.

       SO ORDERED.

       Dated: May 14, 2021


                                            s/Laurie J. Michelson
                                            LAURIE J. MICHELSON
                                            UNITED STATES DISTRICT JUDGE




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